

People v A.D. (2024 NY Slip Op 00743)





People v A.D.


2024 NY Slip Op 00743


Decided on February 13, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 13, 2024

Before: Webber, J.P., Singh, Kennedy, Scarpulla, Rosado, JJ. 


Ind. No. 2644/16, 195/17 Appeal No. 1631 Case No. 2018-3100 

[*1]The People of the State of New York, Respondent,
vA.D., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgment, Supreme Court, Bronx County (Miriam R. Best, J.), rendered March 23, 2017, convicting defendant, upon his plea of guilty, of robbery in the first degree (three counts), adjudicating him a youthful offender, and sentencing him to an aggregate term of one year, and judgment, same court and Justice, rendered March 23, 2017, as amended March 23, 2017, convicting defendant, upon his plea of guilty, of attempted gang assault in the first degree (two counts), adjudicating him a youthful offender, and sentencing him to a concurrent aggregate term of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharges and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 13, 2024








